Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 1 of 40

SETTLEMENT AGREEMENT REGARDING CLAIMS AGAINST
INTERIOR-EXTERIOR IN MDL NO. 2047
(Subject to Court Approval)

This Settlement Agreement is entered into by and between the Plaintiffs’ Steering
Committee in Jn re: Chinese Manufactured Drywall Products Liability Litigation, MDL No.
2047, and Interior/Exterior Building Supply, L.P., Arch Insurance Company, and Liberty Mutual
Fire Insurance Company as of the latest date of a Party’s signature below.

WHEREAS, the Plaintiffs’ Steering Committee has made a demand on Interior/Exterior
Building Supply, L.P. (“InEx”) to settle class Chinese Drywall claims against InEx for an
amount exceeding InEx’s primary insurance coverage limits;

WHEREAS, InEx has been named as a defendant in MDL No. 2047 and is alleged to be
liable for supplying defective Chinese Drywall that was installed in Affected Property;

WHEREAS, InEx has denied liability for the sale of such Chinese Drywall;

WHEREAS, InEx and its primary insurers, Arch Insurance Company and Liberty
Mutual Fire Insurance Company, agree that there is a risk of a judgment against InEx that
exceeds the limits of InEx’s primary insurance coverage; and

WHEREAS, the Parties wish to avoid the effort, expense and risk of continued litigation,

NOW, THEREFORE, in consideration of the mutual covenants contained herein and
intending to be legally bound, the Parties agree as follows:

1. Definitions

1.1. Parties. “Parties” shall mean InEx, the Insurers, and the Class:

1.1.1. InEx. “InEx” shall mean all InEx entities, including, but not limited to,
Interior/Exterior Building Supply, .P. and all of their past, present and
future owners, partners, shareholders, officers, directors, agents, attorneys,
employees, parents, associates, subsidiaries, divisions, affiliates, Insurers,
and all predecessors and successors, assigns, or legal representatives.

1.1.2. Insurers. “Insurers” shall mean Arch and Liberty.
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 2 of 40

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1.1.2.1. Arch. “Arch” shall mean Arch Insurance Company and all past,
present and future officers, directors, agents, attorneys, consultants,
claim administrators, employees, parent corporations, sister
corporations, subsidiaries, affiliated entities, related entities,
divisions, associates, sharcholders, retail dealers, insurers,
reinsurers, and all predecessors, successors, assigns, or legal
representatives.

1.1.2.2. Liberty. “Liberty” shall mean Liberty Mutual Fire Insurance
Company and all past, present and future officers, directors,
agents, attorneys, consultants, claim administrators, employees,
parent corporations, sister corporations, subsidiaries, affiliated
entities, related entities, divisions, associates, stockholders,
shareholders, retail dealers, insurers, reinsurers, and _ all
predecessors, successors, assigns, or legal representatives.

Class; Settlement Class; Class Members. “Class,” also referred to as
“Settlement Class” or “Class Members,” shall mean all persons or entities
with claims, known and unknown, against the Settling Defendants arising
from, or otherwise related in any way to Chinese Drywall sold, marketed,
distributed, and/or supplied by InEx. The Class shall consist of two sub-
classes:

1.1.3.1 All members of the Class with claims arising from, or otherwise
related to Affected Properties that are located in Louisiana (the
“Louisiana Subclass”); and

1.1.3.2 All members of the Class with claims arising from, or otherwise
related to Affected Properties that are located in any state other
than Louisiana (the “Non-Louisiana Subclass”).

Affected Property. “Affected Property” shall mean any real or personal
property, residential or commercial, containing Chinese Drywall sold, marketed,
distributed, and/or supplied by InEx.

Arch Policies. “Arch Policies” shall mean the two general liability policies
issued by Arch to InEx designated as follows: (i) Policy No. 31GPP2067202 with
an effective date of December 31, 2005, and (ii) Policy No. 31GPP2115003 with
an effective date of December 31, 2006. ‘These are the only Arch policies that

2
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 3 of 40

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potentially provide coverage for Chinese Drywall claims against InEx. The
aggregate limits of the Arch Policies are $4,000,000.

Assignment of Insurance. “Assignment of Insurance” shall mean the
assignment to the Non-Louisiana Subclass by InEx of any and all rights of InEx
against the Excess Carrier to (i) insurance coverage for Chinese Drywall claims of
the Non-Louisiana Subclass against InEx but only to the extent that such claims
of the Non-Louisiana Subclass exceed $8,000,000 but do not exceed the
Available Policy Limits and (11) damages for bad faith or extra-contractual
conduct.

Available Policy Limits. “Available Policy Limits” shall mean the following
limits of liability of the Excess Policies to be available to the Settlement Class to
be accessed by assignment or otherwise:

Policy Period Policy No. Aggregate Limits

01/01/06-01/01/07 §53-088195-1 $14 million of the $15
million excess $2 million

01/01/07-01/01/08 553-089469-5 $14 million of the $15
million excess $2 million

01/01/08-01/01/09 553-090750-2 $22 million of the $25
million excess $2 million

01/01/09-01/01/10 §53-091952-6 $22 million of the $25
million excess $2 million

The Settlement Class will not seek to access, and will waive any right to access or
make claim against any excess insurance of InEx other than the Available Policy
Limits, and InEx reserves all coverage, and rights to seek coverage for both
defense and indemnity, against any of its excess insurers except for those rights
expressly assigned herein to the Settlement Class.

Builder. “Builder” shall mean any entity or person engaged principally in the
business of construction of properties and to whom a Developer sells or has sold
one or more lots on which the property construction will take place. A Builder
shall not include a Developer engaged solely in selling the lot on which such
property is constructed, who does not have the authority to manage or control the
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 4 of 40

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actual construction. Other entities or persons excluded from the term Builder
include, but are not limited to, subcontractors, material suppliers, installers, and
design professionals.

Chinese Drywall. “Chinese Drywall” shall mean any and all drywall products
sold, marketed, distributed, and/or supplied by InEx and which are alleged to be
defective, and which were manufactured, in whole or in part, in China, or that
include components manufactured, in whole or in part, in China, including, but
not limited to, any and all drywall manufactured by (i) Knauf Gips KG; Knauf
Plasterboard (Tianjin) Co. Ltd.; Knauf Plasterboard (Wuhu), Co., Ltd.;
Guangdong Knauf New Building Material Products Co., Ltd.; Knauf International
GmbH; Knauf Insulation GmbH; Knauf AMF GmbH & Co. KG; Knauf do Brasil
Ltda., Gebr.; Knauf Verwaltungsgesellschaft; P.T. Knauf Gypsum Indonesia
(collectively, “Knauf’”), and (ii) Taishan Gypsum Co., Ltd. f/k/a/ Shandong Taihe
Dongxin Co., Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi Zhongxin Paper-
Faced Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building Materials Co.,
Ltd.; Crescent City Gypsum, Inc.; Beijing New Building Materials Public Ltd.
Co., and any other manufacturer of Chinese drywall, whether reactive or not.

Court. “Court” shall mean the Honorable Eldon E. Fallon who presides over In
re Chinese Manufactured Drywall Products Liability Litigation, MDL No. 2047,
in the Eastern District of Louisiana.

Developers. “Developers” shall mean the developer of any properties with
Chinese Drywall that was sold, marketed, distributed and/or supplied by InEx.

Downstream InEx Releasees. “Downstream InEx Releasees” shall mean
Subsuppliers, General Contractors, Subcontractors, Installers, Developers, and
Realtors who purchased or received Chinese Drywall from InEx, used Chinese
Drywall supplied by InEx in the construction of Affected Property, or sold or
marketed Affected Property containing Chinese Drywall sold, marketed,
distributed, and/or supplied by InEx, and shall include, but not be limited to, those
persons and entities listed on Exhibit 1.10 cxcept for any Builders that may be
listed thereon. For purposes of clarity, Builders shall not be Downstream InEx
Releasees.

Excess Carrier. “Excess Carrier” shall mean (i) The North River Insurance
Company, (ii) its parents, direct and indirect subsidiaries, affiliates, divisions,
holding companies, merge companies, acquired companies, reinsurers and (iii) all

4
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 5 of 40

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of its present and former offices, directors, shareholders, members, agents,
employees, representatives, attorneys, predecessors in interest, successors in
interest, and assigns.

Excess Policies. “Excess Policies” shall mean the four excess liability policies
issued by the Excess Carrier to InEx as follows:

Policy Period Policy No. Aggregate Limits

01/01/06-01/01/07 = 553-088195-1 $15 million excess $2 million
01/01/07-01/01/08 = 553-089469-5 $15 million excess $2 million
01/01/08-01/01/09 = 553-090750-2 $25 million excess $2 million
01/01/09-01/01/10 = 553-091952-6 $25 million excess $2 million

Execution Date. “Execution Date” shall mean the last date on which any of the
Parties signs this Settkement Agreement, as shown by their signatures below.

General Contractor. “General Contractor” shall mean any general contractor
which (i) took part in the building, remodeling or restoration of any property with
Chinese Drywall that was sold, marketed, distributed and/or supplied by InEx,
and (ii) did so working under contract with, and/or under the direction of a
Builder.

Installer. “Installer” shall mean any person or entity involved in the installation,
hanging, taping, and floating in any property of Chinese Drywall that was sold,
marketed, distributed and/or supplied by Inkx.

Insurance Proceeds. “Insurance Proceeds” shall mean (a) four million dollars
($4,000,000) for Arch (less the dollar amount paid by Arch of (i) the Prior
Settlements and (ii) the Notice Costs), and (b) as to Liberty shall mean four
million dollars ($4,000,000) (less the dollar amount paid by Liberty of (i) the
Prior Settlements and (ii) the Notice Costs). Each insurer will only be responsible
for its own payment of proceeds.

Liberty Policies. “Liberty Policies” shall mean the two general liability policies
issued by Liberty to InEx designated as follows: (i) Policy No. TB2-191-448006-

5
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 6 of 40

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017 with an effective date of December 31, 2007, and (ii) Policy No. TB2-191-
448006-019 with an effective date of January 1, 2009. These are the only Liberty
policies that potentially provide coverage for Chinese Drywall claims against
InEx. The aggregate limits of the Liberty Policies are $4,000,000.

Litigation. “Litigation” shall mean Silva, et al. v. Interior Exterior Building
Supply, LP et al., Civ. Action No. 09-08030 (E.D.La.), Silva et al v. Arch
Insurance Company, et al., Civ. Action No. 09-08034 (E.D.La.), all Class Action
Omnibus Complaints (“Omni Complaints”) filed in MDL No. 2047, and all
Related Actions.

Non-Settling Defendants. ‘“Non-Settling Defendants” shall refer to the Excess
Carrier and any other defendants who are not specifically designated as Settling
Defendants.

Order and Judgment. “Order and Judgment” shall mean an order and judgment
entered by the Court that:

1.20.1. Certifies the Settlement Class pursuant to Fed. R. Civ. P. 23(b)(3);

1.20.2. Finds that the Settlement is fair, reasonable, and adequate, was entered
into in good faith and without collusion, and should be approved; and
approves the Settlement;

1.20.3. Approves the Class Release provided in Section 4.3 and orders that, as of
the Effective Date, the Released Claims as defined in Section 4.1 will be
released as to the Settling Defendants;

1.20.4. Enjoins and forever bars any and all Class Members from commencing
and/or maintaining any action, legal or otherwise, against the Settling
Defendants arising out of, or otherwise relating to, Chinese Drywall;

1.20.5. Bars the assertion by any entity or person against the Settling Defendants
of any contribution, indemnification, subrogation, other claims concerning
(i) the Chinese Drywall claims against InEx or (ii) this Settlement;

1.20.6. Finds that, upon transfer of the Insurance Proceeds to the Escrow Account
by Arch and Liberty pursuant to Section 12, the aggregate limits of the
Arch Policies and the Liberty Policies are exhausted;

6
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 7 of 40

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1.20.7. Finds that the Assignment of Insurance by InEx to the Non-Louisiana
Subclass is valid, binding, and enforceable;

1.20.8. Finds that the indemnity, defense and judgment reduction provisions in
Section 4.3 are valid, binding, and enforceable; and

1.20.9. Finds that, pursuant to Fed. R. Civ. P. 54(b), there is no just reason for
delay of entry of final judgment with respect to the foregoing.

Pending Settlements. “Pending Settlements” shall mean settlements of Chinese
Drywall claims against InEx that have been (i) agreed to but not paid prior to the
Execution Date of this Settlement Agreement and (ii) listed on Exhibit 1.21. No
further settlements will be made between the Execution Date and the earlier of (i)
the termination of this Settlement pursuant to Section 13 or (41) the Effective Date,
without approval of the Court. If the Court approves any further settlements,
those settlements will be included as Pending Settlements, and Exhibit 1.21 will
be deemed to be amended to include these settlements.

Plaintiffs’ Steering Committee; PSC. ‘Plaintiffs’ Steering Committee” or
“PSC” shall mean the group of plaintiffs’ counsel appointed by the Honorable
Eldon E. Fallon to manage and administer the affairs of all plaintiffs in MDL No.
2047 and to assist the Court in administering its docket. The PSC, as currently
constituted, is described by Pretrial Order No. 8A (Rec. Doc. No. 6960).

1.22.1. “Settlement Class Counsel” shall mean Russ Herman and Arnold Levin.

Prior Settlements. “Prior Settlements” shal! mean the dollar amounts (i) paid by
Arch and/or Liberty for the settlement of Chinese Drywall claims against InEx
prior to the Execution Date and (11) listed on Exhibit 1.23, which schedule shall
show the amount paid by Arch and/or the amount paid by Liberty for each claim.
No further payment of settlements will be made by Arch or Liberty between the
Execution Date and the earlier of (i) the termination of this Settlement pursuant to
Section 13 or (ii) the Effective Date, without approval of the Court. If the Court
approves any further payments, those payments will be included as Prior
Settlements, and Exhibit 1.23 will be deemed to be amended to include these
payments.
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 8 of 40

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Realtors. “Realtors” shall mean any realtors involved in any real estate
transaction with respect to any property with Chinese Drywall that was sold,
marketed, distributed and/or supplied by InFx.

Related Actions. “Related Actions” shall mean any and all state court, federal
court, international tribunal or arbitration claims against Settling Defendants
arising out of, or related to Chinese Drywall sold, marketed, distributed, and/or
supplied by InEx, including, but not limited to, the matters identified in Exhibit
1.25 hereto.

Related Claims. “Related Claims” shall mean unlitigated claims against Settling
Defendants arising out of, or related to Chinese Drywall sold, marketed,
distributed, and/or supplied by InEx.

Released Claims. “Released Claims” shall have the meaning set forth in Section
4.1.

Released Party. “Released Party” or “Released Parties” shall mean InEx, Arch,
Liberty, and Downstream InEx Releasces, and their respective parents,
subsidiaries, affiliates, divisions, predecessors, successors, heirs, legal
representatives, legatees and/or assigns, together with past, present and future
officers, directors, board members, shareholders, members, presidents, managers,
partners, employees, distributors, retail dealers, agents, servants, sureties,
representatives, consultants, in-house or outside attorneys, insurers other than the
Excess Carrier, and reinsurers of each of the foregoing.

1.28.1. The Downstream InEx Releasees are being released from claims arising
out of or related to Chinese Drywall in Affected Property only to the
extent that the Affected Property contains Chinese Drywall sold,
marketed, distributed, or supplied by InEx.

Settlement. “Settlement” shall mean this Settlkement Agreement and the
settlement for which it provides resolving all claims against InEx and the other
Released Parties, as well as all exhibits attached hereto or incorporated herein by
reference.

Settling Defendants. “Settling Defendants” shall mean InEx, Arch, Liberty, and
the Downstream InEx Releasees.
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 9 of 40

1.31.

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1.30.1. Settling Defendants will not be entitled to any payment of funds from the
Insurance Proceeds for any purpose or on account of any claim.

1.30.2. The Downstream InEx Releasees shall only be considered Settling
Defendants with regard to claims that are directly related to Chinese
Drywall sold, marketed, distributed, and/or supplied by InEx. All other
claims against the Downstream Inl'x Releasees, if any, are reserved.

Subcontractor. “Subcontractor” shall mean any subcontractor which took part in
the building, remodeling or restoration of any property with Chinese Drywall that
was sold, marketed, distributed and/or supplied by InEx.

Subsupplier. “Subsupplier” shall mean any person or entity to which InEx sold,
marketed, distributed, or supplied Chinese Drywall, directly or indirectly, to be
provided to another for use or installation, in any property.

2. Effective Date

2.1.

The “Effective Date” of this Settlement shall be the date when the Settlement
becomes Final. ‘Final’? means:

2.1.1. If no objections to the Settlement are filed, or if any objections are filed
and voluntarily withdrawn prior to entry of the Order and Judgment, then
the date 30 days following the approval by the Court of the Order and
Judgment and its entry on the Court’s docket; or

2.1.2. If any objections are filed and not voluntarily withdrawn prior to the entry
of the Order and Judgment, then the later of: (a) the expiration of time to
file or notice any appeal from the Court’s Order and Judgment approving
this Settlement; or (b) the date of final affirmance of any appeals
therefrom.

3. Settlement of All Claims Against InEx, Arch, and Liberty

3.1,

The Settlement will settle and resolve with finality the Litigation, the Released
Claims, and the Related Claims against the Settling Defendants and any other
claims that have been brought, could have been brought or could be brought now
or at any time in the future in the Litigation or any other proceeding relating to
Chinese Drywall, whether legal or otherwise.
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 10 of 40

3.2.

3.3.

3.4.

The Settlement will not settle or release any claims by way of subrogation,
contribution or indemnification that the Settling Defendants may have against
third parties arising out of, in any manner related to, or connected in any way with
Chinese Drywall. The Parties will not interfere with the Settling Defendants’
rights or efforts to assert claims by way of subrogation, contribution or indemnity
against third parties arising out of, in any manner related to, or connected in any
way with Chinese Drywall.

In consideration of settlement of all claims against InEx, Arch, and Liberty, the
Settling Defendants agree as follows:

3.3.1.

3.3.2.

3.3.3

3.3.4

3.3.5.

That Arch and Liberty shall deposit Insurance Proceeds into an Escrow
Account described in Section 12 to be made available for allocation as set
forth below in Section 16 of this Agreement;

That InEx shall (i) make the Assignment of Insurance to the Non-
Louisiana Subclass in order to permit the Non-Louisiana Subclass to
pursue claims against the Excess Carrier (with all rights under existing
jurisprudence) but only to the extent of the Available Policy Limits and
(ii) assign to the Non-Louisiana Subclass the right of InEx to file a
complaint against the Excess Carrier as set forth in Section 14 below;

That the Louisiana Subclass reserves the right to pursue a claim against
the Excess Carrier (with all rights under existing jurisprudence) but only
to the extent of the Available Policy Limits;

That the Settling Defendants acknowledge that nothing in this agreement
shall be construed to restrict or otherwise limit the ability of the Louisiana
Subclass and/or the Non-Louisiana Subclass to pursue claims against the
Excess Carrier but only to the extent of the Available Policy Limits.

That the Settlement Class reserves the right to have any claims against
Builders be subject to dismissal upon condition that the Builder agrees to
assign its entitlement to insurance to allow the Class to pursue, either
through direct action or by assignment, such Builder's claims against that
Builder's insurers, excluding Arch and Liberty.

Prior Settlements and Pending Settlements

10
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 11 of 40

3.4.1.

3.4.2.

Arch and Liberty will be given credit for Prior Settlements to reduce the
amount of the Insurance Proceeds to be paid to the Escrow Account,
pursuant to Sections 1.16, 1.23, and 12.1.

Pending Settlements will be paid, under supervision of the Court, out of
the Insurance Proceeds to be paid to the Escrow account, pursuant to
Sections 1.16, 1.21, and 12.1. After the Insurance Proceeds are transferred
to the Escrow Account, Arch and Liberty will have no further obligation
or responsibility for payment of the Pending Settlements.

3.5 Subject to Court approval and on an individual basis, a Class Member with a
home being remediated by Knauf may have an appropriate portion of the
settlement funds provided to Knauf to defray the cost of remediation.

4. Releases

4.1. Released Claims

4.1.1.

“Released Claim” or “Released Claims” shall mean any and all claims
against any Settling Defendants whatsoever (a) arising out of, in any
manner related to, or connected in any way with Chinese Drywall, or the
collective mitigation of, response to, and/or recovery from the damage
caused by Chinese Drywall and/or any act and/or failure to act related in
any way to any of the foregoing, and/or (b) for any and all losses, damages
and/or injuries arising from, in any manner related to, or connected in any
way with all and/or any of the foregoing, including but not limited to any
and all claims that a Class Member has, may have, or may have had,
regardless of whether such claim is known or unknown, filed or unfiled,
asserted or as yet unasserted, or existing or contingent, and whether
asserted by petition, complaint, cross-claim, third party demand, or
otherwise (or any judgment or order entered on such claims), and which is
based upon or alleges any act, conduct, status or obligation of any person
or entity (including the Settling Defendants) and/or any source of liability
whatsoever, and regardless of the legal theory or theories of damages
involved.

The term “Released Claim” or “Released Claims” includes, but is not
limited to, the following claims arising out of, in any manner related to, or

11
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 12 of 40

in any way connected with, Chinese Drywall, the Litigation, or other
Related Actions as to the Settling Defendants:

4.1.2.1 For personal injury, bodily injury (including death), property
damage, remediation and/or clean-up of property, diminution of
property value, foreclosure, groundwater contamination, economic
loss, fear, fear of illness or disease, fear of developing illness or
disease, fright, mental or emotional distress, pain and suffering,
loss of earnings, impairment of earning capacity, loss of
consortium, loss of support, love and affection, equity and medical
monitoring, bystander liability, wrongful death, survival actions,
breach of contract, all statutory claims, punitive or exemplary
damages, attorneys’ fees, costs or expenses, moving expenses,
additional rental or mortgage payments;

4.1.2.2. For nuisance, trespass, inconvenience, loss of use or enjoyment,
negligence, private nuisance, custody of a thing containing a vice
or defect, strict liability, liability for ultrahazardous activities or
conduct, absolute liability, wanton and reckless misconduct,
malicious misconduct, servitude or obligation of vicinage, abuse of
right, or any other liability legally asserted or assertable under any
federal, state, or local statute, law, directive or regulation,
redhibition, violation of |.ouisiana New Home Warranty Act,
Louisiana Products Liability Act (or similar statutes of other
states), negligent discharge of a corrosive substance, unjust
enrichment, breach of implied warranty of fitness and
merchantability, breach of implied warranty of habitability,
violation of consumer protection laws and/or deceptive and unfair
trade practices laws of any state, negligent misrepresentation,
building code violations, or fraud;

4.1.2.3 For damages or alleged damages resulting in whole or in part
from exposure of the Class or Class Members or property of the
Class Members to hazardous or allegedly hazardous, toxic,
dangerous or harmful substances;

4.1.2.4. For bad faith or extra-contractual damages;

12
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 13 of 40

4.1.3.

4.1.2.5. For derivative or vicarious liability arising out of the conduct or
fault of others for which the Released Parties and/or Settling
Defendants may be responsible;

4.1.2.6. For any right legally assertable by the Class or any Class Member
now or in the future, whether the claim is personal to each
individual, derivative of a claim now or in the future, or as
assignee, successor, survivor, legatee, beneficiary, subrogee, or
representative of a Class Member;

4.1.2.7. For a past, present, future, known, unknown, foreseen,
unforeseen, contingent, nascent, mature claim or a claim arising at
law, in equity or otherwise, including but not limited to, claims for
survival and wrongful death;

4.1.2.8. For any claim, right, or action arising out of, based on, or relating
to any body of law whatsoever; and for all injuries or damages of
any type, nature, or character arising from, attributable to, or in any
way resulting from Chinese Drywall;

4.1.2.9. For any conduct of any of the Released Parties and/or Settling
Defendants with respect to, arising out of or in any way resulting
from Chinese Drywall, the Litigation, or the Related Claims;
however, this provision is not intended to prevent or impede the
enforcement of claims or entitlements to benefits under this
Settlement;

4.1.2.10. For any claim, known or unknown, for contribution,
subrogation, or indemnity, contractual or otherwise, arising out of,
attributable to, or in any way related to Chinese Drywall.

The term “Released Claim” or “Released Claims’ also includes, but is not
limited to, the following causes of action arising out of, in any manner
related to, or in any way connected with, Chinese Drywall, the Litigation,
or other Related Actions as to the Settling Defendants:

4.1.3.1. Strict liability;

4.1.3.2. Violations of the Alabama Deceptive Trade Practices Act (Ala.
Code 1975 § 8-19-1, ef seq.), the Louisiana Unfair Trade Practices

13
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 14 of 40

4.1.3.3.

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4.1.3.9.

and Consumer Protection Law (L.SA-R.S. 51:1401, et seg.), the
Texas Deceptive Trade Practices-Consumer Protection Act (Tex.
Bus. Com. Code Ann. § 17.41, ef seq.), the Mississippi Consumer
Protection Act (Miss. Code Ann. § 75-24-1, et seqg.), or any other
state or federal consumer protection laws and unfair trade practices
laws;

Negligence;

Private and public nuisance;
Tort;

Equity and medical monitoring;
Breach of contract;

Loss of use;

Loss of enjoyment;

4.1.3.10. All statutory claims;

4.1.3.11. Personal injury, including death therefrom, related statutory

violations, and emotional! distress and mental anguish;

4.1.3.12. Bodily injury, including death therefrom, and emotional distress

and mental anguish;

4.1.3.13. Indemnity;

4.1.3.14. Contribution;

4.1.3.15. Breach of express or implied warranty;

4.1.3.16. Redhibition;

4.1.3.17. Negligence per se;

4.1.3.18. Violation of the Louisiana New Home Warranty Act (La. R.S.

9:3141, et seq.);

14
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 15 of 40

4.1.4.

4.1.3.19. Violation of the Louisiana Products Liability Act (La. R.S.
9:28000.51 et seq.);

4.1.3.20. Violation of the Louisiana Hazardous Substances Act (La. R.S.
30:2271, et seq.);

4.1.3.21. Negligent discharge of a corrosive substance;
4.1.3.22. Unjust enrichment;

4.1.3.23. Breach of the implied warranty of fitness and
merchantability;

4.1.3.24. Breach of implied warranty of habitability;
4.1.3.25. Negligent misrepresentation;
4.1.3.26. Building code violations;

4.1.3.27. Relief by way of subrogation, contractual indemnity, common
law indemnity and/or contribution against the Settling Defendants;

4.1.3.28. Attorneys’ fees and any and all costs and expenses of litigation;
4.1.3.29. Fraud; and

4.1.3.30. Any further claims and/or liabilities arising out of, or otherwise
relating to, the sale, supply, marketing, distribution, or use of
Chinese Drywall at issue in this Settlement, including, but not
limited to, punitive damages, exemplary damages, multiplication
of damages, and fines.

Notwithstanding the above, the Released Claims do not include Chinese
Drywall claims of the Non-Louisiana Subclass against InEx but only to
the extent that such claims of the Non-Louisiana Subclass are made
against the Excess Carrier, and exceed $8,000,000 but do not exceed the
Available Policy Limits. Such claims of the Non-Louisiana Subclass shall
be excluded from the terms “Released Claim” and “Released Claims” and
shall be referred to as the “Non-Released Claims.”

15
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 16 of 40

4.1.5.

4.1.4.1. The Non-Louisiana Subclass will (a) dismiss the Non-Released
Claims without prejudice, (b) covenant not to sue InEx for any of
the Non-Released Claims, and (c) covenant not to sue InEx to
collect from InEx, or to seek to execute against InEx, any
settlements of or judgments for Non-Released Claims.

Notwithstanding the above, the only parties released are those persons or
entities defined as Released Partics. This Settlement does not provide
complete compensation to redress all Class Members’ damages, and
therefore Class Members’ claims are reserved against the Non-Settling
Defendants.

4.2. Reservations of the Settlement Class

4.2.1. The Downstream InEx Releasees are only being released from those claims

4.2.2.

4.2.3.

4.2.4,

that are directly related to the Chinese Drywall that was sold, marketed,
distributed, and/or supplied by InEx.

The Settlement Class expressly reserves and preserves any and all claims,
including without limitation Chinese Drywall claims, that it has against
the Excess Carrier and Excess Policies, but only with respect to the
Available Policy Limits.

The Non-Louisiana Subclass expressly reserves (i) the Non-Released
Claims against InEx and (ii) the right to pursue (under the Assignment of
Insurance from InEx) claims against the Excess Carrier regarding the Non-
Released Claims but only to the extent of the Available Policy Limits.

4.2.3.1. InEx expressly (i) makes the Assignment of Insurance to the Non-
Louisiana Subclass in order to permit the Non-Louisiana Subclass
to pursue claims against the Excess Carrier (with all rights under
existing jurisprudence) but only to the extent of the Available
Policy Limits and (ii) assigns to the Non-Louisiana Subclass the
right of InEx to file a complaint against the Excess Carrier as set
forth in Section 14 below

The reservation of the Settlement Class to dismiss claims against Builders
upon condition that any Builder may agree to assign its entitlement to
insurance (Section 3.3.5) shall be recognized by that Builder who shall
execute an appropriate Agreement of Assignment that assigns the
Builder’s entitlement to insurance to allow the Class to pursue, either

16
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 17 of 40

through direct action or by assignment, such Builder's claims against that
Builder's insurers, excluding Arch and Liberty. Further, the Settlement
Class, Settlement Class Counsel, and PSC reserve their rights and
entitlements set forth in the Order of March 30, 2011 (Rec. Doc. No.
8439).

4.3. Class Release

4.3.1.

4.3.2.

4.3.3.

4.3.4.

As of the Effective Date of the Settlement, and with the approval of the
Court, all Class Members, and anyone claiming by, through and/or on
behalf of any of them, hereby fully, finally, and forever release, waive,
discharge, surrender, forego, give up, abandon, and cancel any and all
Released Claims (as defined in Section 4.1) against the Settling
Defendants and Released Parties, including (but not limited to) those
asserted, or that could have been asserted, in the Litigation, the Related
Actions, and/or the Related Claims.

As of the Effective Date of the Settlement, all Class Members, and anyone
claiming by, through and/or on behalf of any of them, will be forever
barred and enjoined from prosecuting any action against the Settling
Defendants asserting any and/or all Released Claims.

The Non-Louisiana Subclass will exclude from its release of InEx Chinese
Drywall claims against InEx to the extent that such claims exceed
$8,000,000 but are less than the Available Insurance Limits (the “Non-
Released Claims,” as defined above).

4.3.3.1. InEx will make the Assignment of Insurance to the Non-
Louisiana Sub-class for all rights InEx has to excess insurance
coverage for the Non-Released Claims.

4.3.3.2. The Non-Louisiana Subclass will (a) dismiss the Non-Released
Claims without prejudice, (b) covenant not to sue InEx for any of
the Non-Released Claims, and (c) covenant not to sue InEx to
collect from InEx, or to seek to execute against InEx, any
settlements of or judgments for Non-Released Claims.

The execution of the Settlement shall not be construed as a release of any
claims the Class Members may have against any person and/or entity other
than the Settling Defendants. All Class Members reserve all claims
(including, but not limited to, any and all rights and causes of action, no

17
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 18 of 40

4.3.5.

4.3.6.

4.3.7.

4.3.8.

matter how arising, under any ordinance, code, law, statute, federal or
state, pending or dismissed, known or unknown) against any person and/or
entity other than the Settling Defendants named, or who could have been
named, in the Related Actions.

The Parties agree that the Settlement Class and each of the Class Members
shall satisfy any judgment it or they may obtain against a third party to the
manner necessary (under applicable state law whether it be pro rata, pro
tonto, and/or set off) to extinguish any claims for contribution, indemnity,
common law or contractual, and/or subrogation, whether arising under
tort, contract or otherwise, by such third party against the Settling
Defendants. It is the intent of the Parties that the Settling Defendants shall
have no further liability in connection with the Released Claims.

As of the Effective Date of the Settlement, to the extent of each Class
Member’s individual and net recovery, and to the extent the claim
described in this Section arises out of the claim of that Class Member,
each Class Member shall defend, indemnify, and hold harmless each of
the Settling Defendants from and against (a) any and all claims by, on
behalf of, through, or deriving from his, her, or its heirs, executors,
representatives, attorneys or former attorneys, successors, employers,
insurers, employers’ insurers, health insurers, health care providers,
assignees, subrogees, predecessors in interest, successors in interest,
beneficiaries or survivors; and (b) any claims for contribution; indemnity,
common law or contractual; and/or subrogation, whether arising under
tort, contract or otherwise, related in any way to the Released Claims of
said Class Member released by this Settlement.

To the extent that any entity or person other than InEx may have, or may
assert that it has (whether by way of being an additional insured, or an
other insured, or otherwise) any rights (including but not limited to, rights
to defense or for indemnification) under the Arch Policies or the Liberty
Policies, the Parties agree that the Settlement Class and each of the Class
Members will not seek to assert those rights against the Settling
Defendants, whether by assignment, or subrogation, or otherwise.

It is expressly understood and agreed that the indemnity, defense, and
judgment reduction obligations detailed above shall exist regardless of the
legal basis for the claim, demand, cause of action, right of action, liability,

18
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 19 of 40

lien, or judgment demand asserted by any person or entity to the extent
related to the Released Claims against any Released Party and/or Settling
Defendant and shall survive the execution of any Settlement Agreement.
In particular, the Class Members expressly bind themselves to the
foregoing indemnity, defense and judgment reduction obligations
regardless of whether the claim, demand, suit, liability, lien, judgment,
cause of action, or right of action is based on or related to (a) the
negligence of any of the Settling Defendants, sole or concurrent; (b) the
strict liability of any of the Scttling Defendants under any theory
whatsoever; (c) the absolute liability of any of the Settling Defendants; (d)
the wanton, reckless, or willful misconduct of any of the Settling
Defendants; (e) any actual, alleged or purported right, asserted by any
Settling Defendant or any Class Member under a policy of insurance
issued by one or more insurers; or ({) any other basis whatsoever.

4.4. InEx Release

4.4.1.

As of the Effective Date of the Settlement, InEx and/or all persons or
entities who or which derive any right or claim from, by and/or through
InEx, hereby (i) releases and discharges any and all claims whatsoever
against Arch and Liberty which claims arise out of, or are related in any
way to, Chinese Drywall, the Released Claims, the Litigation, the Related
Actions, the Related Claims, the Arch Policies, and/or the Liberty Policies,
including, but not limited to, (a) all claims for insurance coverage,
indemnity, “duty to defend,” liability of any kind arising from insurance
policies, bad faith claims, and/or cxtra-contractual liability of any kind,
which claims arise under Louisiana law, the law of any other state, or any
other law (including common law) and (b) any and all past, present, and/or
future claims arising out of, or related to indemnity obligations, duty to
defend, claims handling, claims adjustment, breach of contract, breach of
duty or duties, negligent investigation, breach of warranty, failure to warn,
breach of implied warranty, breach of good faith and fair dealing, bad
faith, negligent or intentional interference with contractual relationships,
deceptive trade practices, unfair trade practices, unfair settlement
practices, conduct in violation of any insurance code, or any other alleged
misconduct, omission, or wrongdoing of any kind and (ii) agrees and
stipulates (a) that the Arch Policies are the only insurance policies issued
by Arch to InEx that potentially provide coverage to InEx for Chinese

19
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 20 of 40

4.4.2.

Drywall claims, (b) that the Liberty Policies are the only insurance
policies issued by Liberty to Inl:x that potentially provide coverage to
InEx for Chinese Drywall claims, (c) that the aggregate policy limits under
the Arch Policies and the Liberty Policies, individually and collectively,
have been exhausted, and (d) that Arch and Liberty have no further duty to
defend and/or indemnify InEx, or any other person or persons, entity or
entities under the Arch Policies or the Liberty Policies, individually and/or
collectively, or otherwise.

InEx shall not assign any claims it may possess against any Insurer to any
person or entity except as provided in the Assignment of Insurance.

4.5 Arch and Liberty Releases

4.5.1.

As of the Effective Date of the Settlement, Arch and Liberty each for itself
and all of its past, present and future employees, attorneys, officers,
directors, agents, shareholders, stockholders, subsidiaries, consultants,
insurers, parent corporations, sister corporations, divisions, affiliated
entities, related entities, predecessors, successors and assigns hereby
mutually release, remise, acquit and discharge each other from any and all
manner of actions, claims, demands, causes of action, liabilities,
subrogation, implied or express indemnification, or contribution of
whatever nature or source, known or unknown, that they ever had, now
have, could have had, may have in the future, or that it may acquire
against the other, by reason of anything done or omitted or by reason of
any matter, cause, thing or event whatsoever that exists between them
related to, or arising from Chinese Drywall claims against InEx and any
and all litigation relating to such claims.

5. Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and Related

Motions
5.1.

5.2.

This Settlement shall be subject to approval of the Court.

Within ten (10) days of the execution of this Agreement by (i) InEx; (ii) Arch;
(iii) Liberty; and (iv) the PSC, the parties will move jointly for an order:

5.2.1.

Preliminarily certifying the Settlement Class and approving the Settlement
(the “Preliminary Approval Order’’);

20
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 21 of 40

5.2.2. Staying all future payments from applicable insurance policies, other than
payments in satisfaction of the Settling Defendants’ obligations under the
Pending Settlements, pending final approval of the Settlement, but for no
longer than six months after the Preliminary Approval Order is entered;

5.2.3. Staying all claims in the Litigation as to all Settling Defendants; and

5.2.4. Staying all claims and cases in which any person or entity claims to be an
insured, additional insured, or named insured under any insurance policy
issued to any InEx entity.

5.3. Any one of the Settling Defendants shall have the right to withdraw from the
Settlement if the Court does not issue any of the requested orders (including the
Order and Judgment) or if the Settlement Class is not certified.

5.4. The Parties will stipulate to the Court in the request for entry of the Preliminary
Approval Order and at the Certification Hearing that (i) the Class is being
certified for settlement purposes only pursuant to the Settlement, (ii) the Settling
Defendants reserve the right to object to class certification de novo in the event
this Settlement is terminated for any reason, including termination pursuant to
Section 13, and (iii) this Settlement shall have no precedential effect with regard
to certification of a litigation class that may arise if this matter is not fully and
completely resolved through this settlement cffort, or otherwise.

6. Notice to Class Members

6.1. Type of Notice Required

6.1.1. Upon entry of the Preliminary Approval Order preliminarily certifying the
Settlement Class as defined in Section 1.1.3, the Settlement Class Counsel
will disseminate the Class Settlement Notice (“Notice”) approved by the
Court as follows:

6.1.1.1. By first-class mail to the last known address of the following
persons and entities: (i) all plaintiffs in the Litigation, (ii) all
plaintiffs in the Omni complaints in MDL No. 2047 which name
InEx as a defendant, (iii) all plaintiffs in all Related Actions which
name InEx as a defendant, (iv) the counsel of all the foregoing, (v)
all claimants against InEx of whom said counsel have knowledge,
and (vi) all persons and entities who can be identified from InEx

21
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 22 of 40

invoices as having received drywall from InEx during 2006 and/or
2007;

6.1.1.2. By publication notice through the following media: (i) to be
published once in the following print media: (a) newspapers:
Baton Rouge Advocate - Daily, Birmingham News, Data News
Weekly, Houston Chronicle, La Subasta Houston, Mississippi Link,
Mobile Press-Register, Mobile Press-Register — Sunday, New
Orleans Times-Picayune - Daily, Rolling Out Alabama, Semana
(Houston), and USA Today (Monday — Thursday); and (b)
newspaper supplement: Parade — Regional (Zones 9 and 10,
which include Alabama, Louisiana, Mississippi, and Texas); and
(ii) to be posted by the following online media: 24/7 Network (to
appear nationally across a wide range of sites).

6.1.1.3. By providing a copy of the Notice and requesting that it be posted
on the Court’s Chinese Drywall MDL website, the CPSC website,
and the Department of Health websites for Alabama, Louisiana,
Mississippi and Texas;

6.1.1.4. By providing a copy of the Notice and requesting that it be posted
at such other public places as may be ordered by the Court or by
request of the Parties; and

6.1.1.5. As the Court may direct.

6.2. Payment for Notice

6.2.1.

6.2.2.

The costs of publication of the Notice up to a total of $100,000 shall be
advanced equally by Arch and Liberty, each of which shall advance up to
$50,000. Upon the Effective Date, Arch and Liberty shall be entitled to
receive credit to reduce the Insurance Proceeds due from each of them by
the dollar amount paid by each of them to advance the costs of publication
of the Notice, pursuant to Section 1.16.

The costs of publication of the Notice exceeding $100,000 shall be
advanced by Settlement Class Counsel or the PSC. Upon the Effective
Date, Settlement Class Counsel or the PSC shall be entitled to

22
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 23 of 40

7. Opt-Out

reimbursement for the Notice costs advanced by either of them from the
Insurance Proceeds that are transferred into the Escrow Account.

7.1. Opt-Out Period

7.1.1. Class Members will have seventy (70) days following the entry of the

Preliminary Approval Order by the Court (or such different period as the
Court may direct) to opt out of the Settlement in accordance with Section
7.2. If the Settlement is finally approved by the Court, all Class Members
who have not opted out by the end of the seventy (70) day period will be
bound by the Settlement, and the relief provided by the Settlement will be
their sole and exclusive remedy for the claims alleged by the Class.

7.2. Opt-Out Process

7.2.1.

7.2.2,

Individual Class Members must request to opt out and must sign any
requisite pleading or form. A pleading or form or any other request made
or signed by counsel shall not be sufficient. An original opt-out form
signed by the Class Member must be mailed to Plaintiffs’ Lead Counsel,
Amold Levin (Levin, Fishbein, Sedran & Berman, 510 Walnut Street,
Suite 500, Philadelphia, PA 19106), and to InEx counsel, Richard
Duplantier (Galloway, Johnson, ‘!ompkins, Burr & Smith, One Shell
Square, 701 Poydras Street, 40th Floor, New Orleans, LA 70139). The
opt out request must be postmarked within the 70-day period described in
Section 7.1.1. Plaintiffs’ Lead Counsel shall be obliged to file all opt outs
with the Court by a date prior to the lairness Hearing to be determined by
the Court.

Consistent with the Court’s oversight of the process and its inherent
jurisdiction, the Parties recognize that the Court may use its good offices
to attempt to resolve, through mediation or otherwise, any opt-out.

7.3. Rights With Respect to Opt Outs

7.3.1. The Parties agree and acknowledge that any opt-out may be to the detriment

of InEx, Arch, and/or Liberty, so that each of them will have a right to
terminate the Settlement on account of the existence of any opt out.

23
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 24 of 40

8. Objections

8.1.

7.3.2.

If any Class Members remain as opt outs fourteen (14) days prior to the
Fairness Hearing, then each of InEx, Arch, and Liberty individually has the
right, acting at its sole and exclusive discretion and option, to terminate the
Settlement. This right to terminate the Settlement must be exercised by
written notice to the Court by seven (7) days before the Fairness Hearing.

Any Class Member who has any objection to certification of the Class, or to
approval of this Settlement or any terms hereof, or to the approval process must
make that objection by the following procedure:

8.1.1.

8.1.2.

8.1.4.

The objection must be in writing;

The objection must set forth all objections and the reasons therefore, and a
statement whether the Class Member intends to appear at the Certification
Hearing or Fairness Hearing either with or without the objector’s counsel.
The objection must identify any witnesses intended to be called, the
subject area of the witnesses’ testimony, and all documents to be used or
offered into evidence, at the Certification Hearing or Fairness Hearing;

. The objection must be signed by the individual Class Member and by

his/her/its counsel; an objection signed by counsel alone shall not be
sufficient;

The objection must contain the caption of the Litigation and include the
name, mailing address, e-mail address, if any (an e-mail address is not
required), and telephone number of the objecting Class Member;

. The objection must be mailed to Plaintiffs’ Lead Counsel, Arnold Levin

(Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
Philadelphia, PA 19106), and to InEx counsel, Richard Duplantier
(Galloway, Johnson, Tompkins, Burr & Smith, One Shell Square, 701
Poydras Street, 40th Floor, New Orleans, LA 70139). The objection must
be postmarked by the date prescribed by the Court. Plaintiffs’ Lead
Counsel shall be obliged to file all objections with the Court by a date
prior to the Certification Hearing and the Fairness Hearing to be
determined by the Court.

24
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 25 of 40

8.2.

8.3.

Failure to comply timely and fully with these procedures shall result in the
invalidity and dismissal of any objection. No Class Member shall be entitled to
be heard at the Certification Hearing or lairness Hearing (whether individually or
through the objector’s counsel), or to object to certification of the Class or to the
Settlement, and no written objections or briefs submitted by any Class Member
shall be received or considered by the Court at the Certification Hearing or
Fairness Hearing, unless written notice of the Class Member’s objection and any
brief in support of the objection have been filed with the Court and served upon
Plaintiffs’ Lead Counsel and InEx counsel not later than twenty (20) days before
the date of the Certification Hearing or the Fairness Hearing as appropriate, in
accordance with Section 8.1.

Class Members who fail to file and serve timely written objections in accordance
with Section 8.1 shall be deemed to have waived any objections and shall be
foreclosed from making any objection (whether by appeal or otherwise) to the
certification of the Settlement Class or to the Settlement.

9, Fairness Hearing

9.1.

9.2.

Within ten (10) days of the entry of the Preliminary Approval Order, the PSC
shall request that the Court hold a Fairness Hearing. The Fairness Hearing shall
not be held until after the Opt Out Period has concluded.

At the Fairness Hearing the Court shall, inter alia, (i) consider any properly filed
objections to the Settlement, (ii) determine de novo whether the Settlement is fair,
reasonable, and adequate, was entered into in good faith and without collusion,
and should be approved, and shall provide findings in connection therewith, and
(iii) enter the Order and Judgment, including final approval of the Settlement
Class and the Settlement.

10. Dismissals

10.1.

Within thirty (30) days of the occurrence of the Effective Date:

10.1.1. The Parties shall jointly submit to the Court a proposed order or orders
dismissing with prejudice as to the Settling Defendants (i) Silva, et al. v.
Interior Exterior Building Supply, LP et al., Civ. Action No. 09-08030
(E.D.La.), Silva et al vy. Arch Insurance Company, et al., Civ. Action No.
09-08034 (E.D.La.), (ii) all Omni Complaints filed in MDL No. 2047 but

25
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 26 of 40

10.2.

only to the extent that they assert claims against the Settling Defendants,
and (iii) all Related Actions pending in the Eastern District of Louisiana
and/or MDL No. 2047 but only to the extent that they assert claims against
the Settling Defendants;

10.1.2. The members of the PSC shall file motions to dismiss with prejudice all
Related Actions against Settling Defendants by Class Members whom
they represent which are pending in any state court and/or in any federal
court outside the Eastern District of Louisiana or MDL 2047 but only to
the extent that they assert claims against the Settling Defendants;

10.1.3. The PSC shall use its best efforts to assist the Settling Defendants in
obtaining dismissal with prejudice of any other Related Actions
maintained by any Class Member whether in state court, federal court or
any arbitral forum.

The dismissal orders, motions or stipulation to implement Section 10.1. shall seek
or provide for a dismissal with prejudice, with each Class Member and Settling
Defendant bearing its own attorneys’ fees and costs, and waiving any rights of
appeal.

11. Bar Order

11.1.

11.2

11.3.

As part of the Order and Judgment, the Court shall issue a bar order and
permanent injunction against any and all pending or future claims against the
Settling Defendants arising from, or otherwise relating to Chinese Drywall.

The bar order and permanent injunction shall:

11.2.1 Enjoin and forever bar any and all Class Members from commencing
and/or maintaining any action, legal or otherwise, against the Settling
Defendants arising out of, or otherwise relating to, Chinese Drywall;

11.2.2 Bar the assertion by any entity or person against the Settling Defendants of
any contribution, indemnification, subrogation, other claims concerning (i)
the Chinese Drywall claims against Inkx or (ii) this Settlement.

This provision is not intended to prevent or impede the enforcement of claims or
entitlement to benefits under this Settlement.

26
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 27 of 40

12. Deposits
12.1.

12.2.

Within twenty (20) business days after the Effective Date, the Insurers shall
transfer the Insurance Proceeds to the Escrow Account to be established at United
States Bank pursuant to order of the Court in accordance with Fed. R. Civ. P. 67
and 28 U.S.C. § 2041.

Within ten (10) business days after the Effective Date, the PSC shall furnish the
Insurers with specific payment instructions and a tax identification number.

13. Termination of This Settlement

13.1. This Settlement shall be terminated and cancelled upon any of the following events:

13.2.

13.1.1. The Court declines to enter the Preliminary Approval Order;
13.1.2. The Fairness Hearing is not held by the Court;

13.1.3. The Order and Judgment approving the Settlement and certifying the Class
is not entered by the Court, or is reversed by a higher court, or is
inconsistent with the terms of the Settlement; or

13.1.4. The Court declines to dismiss the Settling Defendants with prejudice.

In addition to any other right to terminate under this Settlement, the Settling
Defendants may, at their sole and exclusive discretion and option, withdraw from,
terminate, and cancel their obligations under this Settlement upon any of the
following events:

13.2.1. The Class Settlement Notice does not comply with Section 6.1 or with the
order of the Court concerning Notice;

13.2.2. Any party exercises its rights regarding opt outs pursuant to Section 7.3;

13.2.3. The dismissals as provided in Sections 10.1.1, 10.1.2, and 10.2 do not
occur as provided in Section 10;

13.2.4. The bar order and permanent injunction as provided in Section 11.2 are
not entered by the Court as provided in Section 11;

27
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 28 of 40

13.2.5. The PSC, acting on behalf of the Class, materially breaches the Settlement
and such breach materially frustrates the purposes of this Agreement; or

13.2.6. This Settlement is changed in any material respect, except by written
consent of the Parties.

14. Claims Against The Excess Carrier

14.1.

The PSC will amend the Silva actions, the Amato action, and/or file a new
complaint against the Excess Carrier, pursuant to the Assignment of Insurance
and as authorized by the Court.

15. Court to Retain Jurisdiction to Implement and Enforce Settlement Agreement

15.1.

Notwithstanding any other provision of this Settlement, the Court shall retain (a)
continuing jurisdiction over the Litigation, the Class, the Class Members, and the
Settlement for the purposes of administering, supervising, construing and
enforcing the Settlement; and (b) continuing and exclusive jurisdiction over (i) the
Insurance Proceeds in the Escrow Account and any other settlement funds that
may be added to the Escrow Account (collectively, the “Settlement Fund”) and
(ii) the distribution of same to Class Members.

16. Allocation of Payments

16.1.

16.2.

16.3.

The Court shall establish a procedure for allocation of the Settlement Fund
between the various products sold and the various interests who have claimed, or
may claim, entitlement to the same. Towards this end, the parties will request that
the Court appoint pursuant to Fed. R. Civ. P. 53 a Special Master to assist the
Court in the allocation process. The Court shall entertain interventions for the
purpose of determining the allocation and shall establish procedures by order
setting forth the manner in which this allocation process shall proceed. The
allocation by the Special Master may be appealed solely to Judge Fallon, whose
decision shall be final.

InEx agrees to cooperate with reasonable requests for documents and other
information related to continuing litigation against the Excess Carrier and the
manufacturers of Chinese Drywall.

Any disputes as to the allocation of payments among Class Members will not
defeat the Settlement and shall not involve the Settling Defendants.

28
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 29 of 40

16.4. All costs of administering the allocation of the Settlement Fund and the cost of
Notice to Class Members will be paid out of the Settlement Fund or a separate
administrative fund, subject to the provisions of Section 6 regarding advance of
the costs of publication of Notice.

16.5. Notwithstanding any other provision of this Settlement or of any other document,
the Settling Defendants shall not be liable for, and shall have no responsibility
whatsoever for any payment of, any Class Counsel’s attorneys’ fees, costs, and
expenses; Class Member’s attorneys’ fees, costs, and expenses; fees and costs of
any Mediator or Special Master the Court may appoint; court costs; Notice costs
(except as provided in Section 6.1 regarding advance of the costs of publication of
Notice); the fees and costs of any person or entity retained by the Mediator or the
Special Master; and/or other costs and fees associated with this Litigation, the
Related Actions, the approval and/or implementation of this Settlement, the
administration of claims, and/or the disposition of the Settlement Fund.
Notwithstanding the provisions of this Settlement or of any other document, the
Settling Defendants shall have no obligation to pay any amount beyond the
Insurance Proceeds.

16.6 Payment of Pending Settlements will be made from the Settlement Fund under the
supervision of the Court. After the Effective Date, neither InEx, Arch or Liberty
will be liable or responsible for payment of the Pending Settlements.

16.7 The PSC, common benefit attorneys, and privately retained attorneys for all Class
Members (the “Petitioning Attorneys”) shall be entitled to petition the Court for
attorneys’ fees up to 32 % of the Settlement Fund and reimbursement of
reasonable expenses. The allocation of attorneys’ fees and reimbursement of
reasonable costs between and amongst the Petitioning Attorneys shall be
determined by the Court. Provided that such petition does not seek fees
exceeding 32 % of the Settlement Fund, the Settling Defendants agree not to
participate in the determination of either the appropriate fees or reimbursement of
reasonable expenses.

17. Miscellaneous

17.1. The Parties and their attorneys and agents shall not attempt to use the payments
made pursuant to this Settlement or the terms hereof to argue in any other
proceeding that there is insurance coverage for Chinese Drywall claims.

29
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 30 of 40

17.2.

17.3.

17.4

The Settling Defendants do not admit or concede that they have any liability for,
or owe any damages whatsoever relating to, Chinese Drywall.

Arch and Liberty do not admit or concede any liability or insurance coverage
obligation (for either defense costs or indemnity payments) for any claims relating
to Chinese Drywall.

All persons should be on notice of their continuing duty to monitor the Court’s
docket for the most current filings and information. The Court, in its discretion,
may alter, postpone or amend any of the deadlines scheduled by the Court in
connection with the certification of the class and the approval of this Agreement
without additional formal notice. Orders of any such changes are expected to be
presented on the Court’s website:
http://www.laed.uscourts.gov/Drywall/Drywall.htm.

18. Federal Rule of Evidence 408

18.1.

18.2.

The Parties specifically acknowledge, agree and admit that this Settlement and its
exhibits, along with all related drafts, motions, pleadings, conversations,
negotiations and correspondence, shall be considered a compromise within the
meaning of Federal Rules of Evidence Rule 408, and any equivalent rule of
evidence of any state, and shall not (i) constitute, be construed, be offered, or
received into evidence as an admission of the validity of any claim or defense, or
the truth of any fact alleged or other allegation in the Litigation, the Related
Actions, or in any other pending or subsequently filed action, or of any
wrongdoing, fault, violation of law, or liability of any kind on the part of any
Party, or (ii) be used to establish a waiver of any defense or right, or to establish
or contest jurisdiction or venue.

The Parties also agree that this Settlement, any orders, pleadings or other
documents entered in furtherance of this Settlement, and any acts in the
performance of this Settlement are not intended to be, nor shall they in fact be,
admissible, discoverable, or relevant in any case or other proceeding against the
Settling Defendants (i) to establish grounds for certification of any class involving
any Class Member, (ii) to prove either the acceptance by any Party hereto of any
particular theory of coverage, or (iii) as evidence of any obligation that any Party
hereto has or may have to anyone.

30
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 31 of 40

18.3.

The provisions of this Settlement, and any orders, pleadings or other documents
entered in furtherance of this Settlement, may be offered or received in evidence
solely (i) to enforce the terms and provisions hereof or thereof, (ii) as may be
specifically authorized by a court of competent jurisdiction after an adversary
hearing upon application of a Party hereto, (iii) in order to establish payment, or
an affirmative defense of exhaustion of insurance coverage or res judicata in a
Related Action or a subsequent case, (iv) in connection with any motion to enjoin
or stay any of the Related Actions, or (v) to obtain Court approval of the
Settlement.

[Remainder of this page intentionally left blank.]

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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 32 of 40

IN WITNESS HEREOF, the Parties have executed this Settlement Agreement by their

duly authorized representatives on the dates stated below.

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Print Name:

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Print Name: Lepwacd A Dans

Witnesses:

beh Corerstlr

Print Name: Laban Cginne Dit

Ovamcdin. Rasp

Uso Name: JERR: Ga Kayes

Witnesses:

Print Name:

Print Name:

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Print Name: Russ M Herman / Bene id levin

Title:

U1 aS/]

Date:

Interior/Exterior Building Supply, L.P.
By: Interior/Exterior Enterprises, L.L.C., G.P.

By: g CC Ae
Print Name: Cleo fon C Can

Title: Lenn bar
Date: We Li C

Arch Insurance Company

By:

Print Name:

Title:

Date:

Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 33 of 40

IN WITNESS HEREOF, the Parties have executed this Settlement Agreement by their
duly authorized representatives on the dates stated below.

Witnesses: Plaintiffs’ Steering Committee
By:

Print Name: Print Name:
Title:
Date:

Print Name:

Witnesses: Interior/Exterior Building Supply L.P.
By:

Print Name: Print Name:
Title:
Date:

Print Name:

Witnesses: Arch Insurance Compauy

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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 34 of 40

Witnesses: Liberty Mutual Fire Insurance Company
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Date: Aca 2s, Zol/
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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 35 of 40

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared

Pcmeld tevin

who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

that s/he is a Member of Plaintiffs’ Steering Committee and s/he was authorized to and did
execute the foregoing instrument in such capacity for the said Committee, as its free act and
deed.

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

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presence and in the presence of the undersigned competent witnesses on this aS — day of

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Print Name:

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& ip VA LEA)
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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 36 of 40

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared

Rows Mm IF ema

who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

that s/he is a Member of Plaintiffs’ Steering Committee and s/he was authorized to and did
execute the foregoing instrument in such capacity for the said Committee, as its free act and
deed.

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

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presence and in the presence of the undersigned competent witnesses on this 4S ~~ day of

Apri 2011.

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Print Name: A. ly

NOTARY PUBLIC
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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 37 of 40

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared

Clayton C. Geaty

who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

that s/he is a Member of Interior/Exterior Building Supply L.P. and s/he was authorized to and

did execute the foregoing instrument in such capacity for the said entity, as its free act and deed.
IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

presence and in the presence of the undersigned competent witnesses on this 2s day of

pcs| , 2011.

ESSES:
Lubes Ce CEA,
, CLANTON &. R
Print Name: ban Aank- de mn een’ fo

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bi vame: SERRE Gt Ye

Brian R. Johnson
Notary Public
Bar # 29270
My commission is for life.

Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 38 of 40

STATE OF

PARISH/COUNTY OF

BEFORE ME, the undersigned authority, personally came and appeared

who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

that s/he is the of Arch Insurance Company and s/he was authorized to and did

execute the foregoing instrument in such capacity for the said corporation, as its free act and

deed.
IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my
presence and in the presence of the undersigned competent witnesses on this day of
, 2011.
WITNESSES:
Print Name:
Print Name:

NOTARY PUBLIC

36
Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 39 of 40

STATEOF New Hampshire

PARISH/COUNTY OF _Stta}ForA

BEFORE ME, the undersigned authority, personally came and appeared
Michael ?: M. dee

who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

Manager: tr. oO: Specialty Glaus
that s/he is the of Liberty Mutual Fire Insurance Company and s/he was

authorized to and did execute the foregoing instrument in such capacity for the said corporation,
as its free act and deed.
IN WITNESS WHEREOF, the said Appearer has cxecuted this acknowledgement in my

presence and in the presence of the undersigned competent witnesses on this 2S t4_ day of
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Print Name: Gene KRU F#-

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Case 2:09-md-02047-EEF-MBN Document 8628-3 Filed 04/26/11 Page 40 of 40

LIST OF EXHIBITS

Exhibit 1.10 — List of Downstream InEx Releases

Exhibit 1.21 — List of Pending Settlements

Exhibit 1.23 — List of Prior Settlements

Exhibit 1.25 ~ List of Related Actions

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38
